        Case 2:13-cv-00512-GMS Document 32 Filed 05/20/13 Page 1 of 5



 1   Michael P. Stark (State Bar No. 005040)
     STARK WILLIAMSON & CLAUSEN LLP
 2   2700 N. Central Ave., Suite 1400
     Phoenix, AZ 85004
 3   Telephone: (602) 285-4415
     Facsimile: (602) 285-4483
 4   e-mail: swc@swclawyers.com
 5   Wendy R. Fleishman (Pro Hac Vice)
     LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 6   250 Hudson Street, 8th Floor
     New York, New York 10013-1413
 7   Telephone: (212) 355-9500
     Facsimile: (212) 355-9592
 8   E-mail: wfleishman@lchb.com
 9   Kent L. Klaudt (Pro Hac Vice)
     Cecilia Han (Pro Hac Vice)
10   Lisa J. Cisneros (Pro Hac Vice)
     LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
11   275 Battery Street, 29th Floor
     San Francisco, California 94111-3339
12   Telephone: (415) 956-1000
     Facsimile: (415) 956-1008
13   E-mail: kklaudt@lchb.com
     E-mail: chan@lchb.com
14   E-mail: lcisneros@lchb.com
15   Attorneys for Plaintiff Cristina Ramirez
16                                  UNITED STATES DISTRICT COURT

17                                      FOR THE DISTRICT OF ARIZONA
     Cristina Ramirez,
18                                                    Case No. 2:13-cv-00512-SPL
                           Plaintiff,
19                                                    PLAINTIFF’S REQUEST FOR
                                                      JUDICIAL NOTICE IN SUPPORT OF
20               vs.                                  THEIR OPPOSITION TO
                                                      DEFENDANTS MEDTRONIC, INC.
21   Medtronic, Inc., a Minnesota                     AND MEDTRONIC SOFAMOR DANEK
                                                      USA, INC.’S MOTION TO DISMISS
     corporation; Medtronic Sofamor Danek,            PLAINTIFF'S COMPLAINT
22
     USA, Inc.,                                       PURSUANT TO FED. R. CIV. P. 12(B)(6)
23
                           Defendants.
24
                 Pursuant to Fed. R. Evid. Rule 201(b), Plaintiff Cristina Ramirez respectfully
25
     requests that the Court take judicial notice of the following appended documents in
26
     support of her Opposition to Defendants Medtronic, Inc. and Medtronic Sofamor Danek
27
     USA, Inc.’s Motion to Dismiss Plaintiff’s Complaint:
28

     1107489.2                                      -1-
        Case 2:13-cv-00512-GMS Document 32 Filed 05/20/13 Page 2 of 5



 1               Exhibit A: Letter from Senator Charles E. Grassley to Mr. Bill Hawkins, President
 2               and CEO of Medtronic, dated September 30, 2008, available at
 3               http://www.finance.senate.gov/newsroom/ranking/release/?id=10014db8-2710-
 4               44e9-8398-6bda246f08df
 5
 6               Exhibit B: Letter from Senators Charles E. Grassley and Max Baucus to Mr. Omar
 7               Ishrak, Chairman and CEO of Medtronic, dated June 21, 2011, available at
 8               http://www.finance.senate.gov/newsroom/chairman/release/?id=a7e974b6-b4b6-
 9               4e2c-a738-edefac30fcb6
10
11               Exhibit C: Letter from Senators Charles E. Grassley, Herb Kohl and Richard
12               Blumenthal to Mr. Omar Ishrak, Chairman and CEO of Medtronic, dated
13               December 13, 2011, available at
14               http://www.grassley.senate.gov/about/upload/Medtronic.pdf
15
16               Exhibit D: Staff Report on Medtronic’s Influence on Infuse Clinical Studies,
17               prepared by the Staff of the Committee on Finance for the United States Senate,
18               available at
19               http://www.finance.senate.gov/newsroom/chairman/download/?id=e54db17c-a475-
20               4948-bd81-69c8740c6aaf
21
22               Exhibit E: FDA Approved Labeling - Important Medical Information for
23               InFUSE™ Bone Graft/LT-Cage™ Lumbar Tapered Fusion Device, available at
24               http://www.accessdata.fda.gov/cdrh_docs/pdf/P000058c.pdf
25
26               Exhibit F: August 20, 2012 Notice of Ruling Re: Denial of Medtronic’s Motion for
27               Summary Judgment, No. BC465313, Cabana v. Stryker Biotech LLC, (Superior
28               Court for the County of Los Angeles).

     1107489.2                                      -2-
        Case 2:13-cv-00512-GMS Document 32 Filed 05/20/13 Page 3 of 5



 1
 2               Exhibit G: February 21, 2013 Order Re: Defendants’ Motion to Dismiss and
 3               Request for Oral Argument, No. 12CV40, Huggins v. Medtronic Inc., (District
 4               Court, Denver, CO).
 5
 6               Exhibit H: March 5, 2013 Order on Defendants’ Medtronic, Inc. and Medtronic
 7               Sofamor Danek USA, Inc.’s Motion to Dismiss, No. 12-31442 CA 06, Martinez v.
 8               Oppenheimer, (Circuit Court of Florida for Miami-Dade County).
 9
10               Exhibit I: June 22, 2012 Judgment of Dismissal in Favor of Defendants Medtronic,
11               Inc. and Medtronic Sofamor Danek USA, Inc., No. SC112290, Coleman v.
12               Medtronic Inc., et al., (Superior Court for the County of Los Angeles).
13
14               Exhibit J: April 23, 2013 Order Granting Defendants’ Motion to Dismiss, No.
15               McCormick v. Medtronic, Inc., No. 368532 (Md. Cir. Ct. April 19, 2013);
16
17               This Request is made pursuant to Fed. R. Evid. 20l (b)(2), which provides that the
18   Court may take judicial notice of any facts “capable of accurate and ready determination
19   by resort to sources whose accuracy cannot be reasonably questioned.”
20               As to Exhibits A through D, which relate to the investigation of Medtronic’s
21   marketing practices in connection with Infuse® by the Finance Committee of the United
22   States Senate, Plaintiff requests that the Court take judicial notice of certain publically
23   available documents pertaining to the investigation and Staff Report. See Carolene
24   Products Co. v. United States, 323 U.S. 18, 28 (1944) (approving judicial notice of reports
25   of committees of the House of Representatives and the Senate showing legislative
26   considerations); Madison Servs., Inc. v. United States, 92 Fed. Cl. 120, 131 (Fed. Cl.
27   2010) (noting that a court may take judicial notice of a congressional staff report); Reese
28   v. McGraw-Hill Cos., 2012 U.S. Dist. LEXIS 83753, at *2-3 (S.D.N.Y March 30, 2012)

     1107489.2                                      -3-
        Case 2:13-cv-00512-GMS Document 32 Filed 05/20/13 Page 4 of 5



 1   (taking judicial notice of the existence of a Staff Report by the U.S. Senate Permanent
 2   Subcommittee on Investigations). Furthermore, the contents of these documents were
 3   alleged in Plaintiff’s Complaint and their authenticity is capable of accurate and ready
 4   determination through the internet hyperlinks noted above, all of which pertain to the
 5   Senate Finance Committee’s official website. See Knievel v. ESPN, 393 F.3d 1068, 1076
 6   (9th Cir. 2005) (granting judicial notice for documents “whose contents are alleged in a
 7   complaint and whose authenticity no party questions, but which are not physically
 8   attached to the plaintiff's pleading[]”) (alteration marks omitted).
 9               As to Exhibit E, the Court may take notice of publicly available and/or official
10   documents issued by the U.S. Food and Drug Administration ("FDA") because they
11   provide facts that are capable of accurate and ready determination by resort to sources
12   whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201(b); see also In re
13   Epogen & Aranesp Off-Label Mktg. & Sales Practices Litig., 590 F. Supp. 2d 1282, 1286
14   (C.D. Cal. 2008) (judicially noticing drug labels that were publicly available on the FDA
15   website); Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001).
16               As to Exhibits F through K, Plaintiff requests that the Court take notice of the court
17   orders included therein. These court rulings are matters of public record and their
18   accuracy can be readily ascertained. Collins v. Wells Fargo Bank, 2013 U.S. Dist. LEXIS
19   36196, at *17-18 (D. Ariz. March 15, 2013) (citing In re Silicon Graphics Inc. Sec. Litig.,
20   183 F.3d 970, 986 (9th Cir. 2002)).
21
22
23
24
25
26
27
28

     1107489.2                                       -4-
        Case 2:13-cv-00512-GMS Document 32 Filed 05/20/13 Page 5 of 5



 1   Dated this 20th day of   STARK WILLIAMSON & CLAUSEN LLP
     May, 2013
 2
                              By:             /s/ Michael P. Stark
 3                                            Michael P. Stark
 4                            Michael P. Stark (State Bar No. 005040)
                              STARK WILLIAMSON & CLAUSEN LLP
 5                            2700 N. Central Ave., Suite 1400
                              Phoenix, AZ 85004
 6                            Telephone: (602) 285-4415
                              Facsimile: (602) 285-4483
 7                            Firm Email: swc@swclawyers.com
 8                            Wendy R. Fleishman (Pro Hac Vice)
                              LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP
 9                            250 Hudson Street, 8th Floor
                              New York, New York 10013-1413
10                            Telephone: (212) 355-9500
                              Facsimile: (212) 355- 9592
11
                              Kent L. Klaudt (Pro Hac Vice)
12                            Cecilia Han (Pro Hac Vice)
                              Lisa J. Cisneros (Pro Hac Vice)
13                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                              275 Battery Street, 29th Floor
14                            San Francisco, California 94111-3339
                              Telephone: (415) 956 -1000
15                            Facsimile: (415) 956-1008
16                            Attorneys for Plaintiff Cristina Ramirez
17
18
19
20
21
22
23
24
25
26
27
28

     1107489.2                               -5-
